Where the husband obtained a decree of divorce in Mississippi and there was no service, except by publication, upon the wife who resided in Georgia, in a subsequent suit by the wife against the husband in Georgia for alimony, she could, without offending the full faith and credit clause of the constitution of the United States, collaterally attack the Mississippi decree upon the grounds of lack of jurisdiction and fraud in its procurement.
The evidence upon the interlocutory hearing was sufficient to authorize a jury to find that the collateral attack on the Mississippi decree was sustained, and to authorize the trial judge to regard it as a nullity; and the judgment excepted to, awarding temporary alimony, being otherwise valid the court did not err in rendering the same.
                       No. 15046. JANUARY 5, 1945.
A suit for permanent and temporary alimony was filed by Mrs. Irma Marchman against H. L. Marchman in the superior court of Laurens County, Georgia, seeking to have decreed void a decree of divorce in favor of H. L. Marchman, rendered by a court in the State of Mississippi.
Upon an interlocutory hearing of an application for temporary alimony, evidence was introduced showing that the husband filed a suit for divorce against the wife in the superior court of Laurens *Page 740 
County, Georgia, on October 6, 1942, in which he alleged that he was at that time a bona fide resident of the said State and county. The evidence further showed that he filed a suit for divorce against his wife in the Mississippi court on April 3, 1943, in which he alleged that he had been a bona fide resident of the State of Mississippi for a period of one year immediately preceding the filing of that suit, and that he did not know where the wife resided and did not know her mailing address. The suit resulted in a decree of divorce in favor of the husband on May 18, 1943. The petitioner also introduced in evidence section 2736 of the 1942 Code of Mississippi, which provides that jurisdiction in suits for divorce shall be limited to cases: "(a) Where one of the parties has been an actual bona fide resident within this State for one year next preceding the commencement of the suit. (b) In any case where the proof shows that a residence was acquired in this State with a purpose of securing a divorce, the court shall not take jurisdiction thereof, but dismiss the bill at the cost of complainant." There was evidence also to the effect that the defendant Marchman registered under the selective-service law in Laurens County, Georgia, and was, on June 8, 1942, ordered to report to the Childersburg, Alabama, board for induction on June 17, 1942. Also introduced in evidence was a letter dated June 7, 1942, mailed to Childersburg, Alabama, and addressed to Mrs. H. L. Marchman, the letter beginning with the words, "Dearest H. L. Jr. and Irma." A witness testified that this writing was that of the defendant husband. The exception here is to the interlocutory judgment awarding the wife temporary alimony of $50 per month and asserting that the Mississippi divorce decree is void.
(After stating the foregoing facts.) The only attack made upon the judgment excepted to is that it offends the full faith and credit clause of the constitution of the United States (Code, § 1-401), in that it fails to recognize the validity of the decree of divorce granted to the defendant by the court of the State of Mississippi. Upon the answer to this question depends the decision in the present case.
The decisions of this court up to this time have uniformly held that the full faith and credit clause of the constitution of the United States and the act of Congress enacted in pursuance thereof *Page 741 
(28 U.S.C.A., § 687) have no application to a decree of divorce where the defendant in the divorce action was a non-resident, made no appearance, and the only service had was by publication; and that such a divorce decree is subject to a collateral attack showing that the court rendering the same was without jurisdiction or that the petitioner therein procured the decree by the perpetration of a fraud upon the court rendering the same. Joyner v. Joyner, 131 Ga. 217 (62 S.E. 182, 18 L.R.A. (N.S.) 647, 127 Am. St. Rep. 220); Matthews v.Matthews, 139 Ga. 123 (76 S.E. 855); Solomon v. Solomon,140 Ga. 379 (78 S.E. 1079); Brandon v. Brandon, 154 Ga. 661
(115 S.E. 115); Green v. Whatley, 158 Ga. 628, 632
(123 S.E. 871); Durden v. Durden, 184 Ga. 421
(191 S.E. 455); Adams v. Adams, 191 Ga. 537 (13 S.E.2d 173). But where there has been personal service or the defendant appears and defends, a decree of divorce rendered by a court of another State and regular upon its face is not subject to attack in the courts of this State. Drake v. Drake, 187 Ga. 423
(1 S.E.2d 573); Dyal v. Dyal, 187 Ga. 600 (1 S.E.2d 660). The only service upon the wife in the husband's suit for divorce in the State of Mississippi was by publication. She made no appearance and contested none of the allegations of that suit. Therefore, under the decisions of this court, she has a right to collaterally attack the Mississippi decree, as she has done here, upon the grounds that the court was without jurisdiction, in that the petitioner had not been a bona fide resident of the State of Mississippi for a period of one year as required by the laws of that State to give the court jurisdiction, and that his representation to the court that he had been such a bona fide resident was false and fraudulent. The evidence was such as to authorize a jury to find that the attack on the decree was sustained, and the court in the exercise of its discretion did not err in disregarding the Mississippi decree and awarding temporary alimony. If the Mississippi decree must be given full effect by the Georgia courts, then the defendant here, in virtue of that decree, would not be the husband of the petitioner, and hence could not be required to pay her any alimony. Christopher
v. Christopher, 198 Ga. 361 (31 S.E.2d 818). But since, as ruled above, the trial judge was not required to so recognize the Mississippi decree, the evidence authorized him to regard it as a nullity and to make the award of alimony complained of. *Page 742 
Since the question here involves the constitution and laws of the United States, this court must accept the interpretation placed thereupon by the Supreme Court of the United States. That court in Haddock v. Haddock, 201 U.S. 562 (26 Sup. Ct. 525,50 L. ed. 867, 5 Ann. Cas. 1), held that a decree of divorce based on constructive and not actual service of process, obtained by the husband in the State of Connecticut while the wife remained at her domicile in New York, was obtained without personal jurisdiction of the wife and was not entitled to obligatory enforcement in the State of the wife's residence by virtue of the full faith and credit clause of the Federal constitution. There was a strong dissent by four of the Justices, but the dissenting opinion (page 608), after stating that a decree of divorce may be lawfully obtained at the matrimonial domicile notwithstanding that the defendant resides in another State, provided that the law of the domicile with respect to personal service or publication be scrupulously observed, said: "Doubtless the jurisdiction of the court granting the divorce may be inquired into, and if it appear that the plaintiff had not acquired abona fide domicile in that State at the time of instituting proceedings, the decree is open to a collateral attack, Bell v.
Bell, 181 U.S. 175 (21 Sup. Ct. 551, 45 L. ed. 804), and a recital in the proceedings of a fact necessary to show jurisdiction may be contradicted. Thompson v. Whitman, 181 Wall. 457 (21 L. ed. 897); Streitwolf v. Streitwolf, 181 U.S. 179
(21 Sup. Ct. 553, 45 L. ed. 807); Andrews v. Andrews,188 U.S. 14 (23 Sup. Ct. 237, 47 L. ed. 366)." Again (page 613) the dissenting opinion declared: "Four recent decisions in this court are too important to pass unnoticed. In Bell v. Bell, 181 U.S. 175, and in Streitwolf v. Streitwolf (p. 179), it was held that a divorce obtained in a State in which neither party was domiciled, upon service by publication and in another State, was entitled to no faith and credit. These decisions were unanimous. And in Andrews v. Andrews, 188 U.S. 14, that a divorce obtained by one who had gone into another State to procure a divorce in fraud of the law of the domicile, was also invalid." That decision was expressly overruled in Williams v. North Carolina, 317 U.S. 287 (63 Sup. Ct. 207, 87 L. ed. 279, 143 A.L.R. 1273). There a man and a woman went from the State of North Carolina to the State of Nevada and procured divorces from the Nevada court from their *Page 743 
respective spouses in the State of North Carolina, the State of their permanent domiciles. They then married each other in the State of Nevada and returned to North Carolina where they were convicted for bigamous cohabitation. The conviction was reversed because of a charge to the effect that a Nevada divorce decree based on substituted service where the defendant made no appearance would not be recognized in North Carolina. The decision was expressly limited to this question, since any error required a reversal, and it was said (page 302): "Nor do we reach here the question as to the power of North Carolina to refuse full faith and credit to Nevada divorce decrees because, contrary to the findings of the Nevada court, North Carolina finds that no bona fide domicile was acquired in Nevada." Thus it is clear that the Supreme Court of the United States did not rule upon the right to collaterally attack the divorce decree of another State upon the grounds of lack of jurisdiction and fraud in its procurement, and, accordingly, we hold that the present defendant in error is within her right in making the collateral attack upon the Mississippi decree.
Judgment affirmed. All the Justices concur.